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C-13-15(a)(Motion)
(Rev. 09/09)                            UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF NORTH CAROLINA

In Re:                                                         )                 Motion and Notice
                                                               )                   Chapter 13
                                                               )
RAIMOND B HALL                                                 )             No: B-08-51286 C-13W
TERRY B HALL                                                   )
                                             Debtor(s)         )

Kathryn L. Bringle, Trustee, respectfully moves the Court for an order as follows:

Green Tree Servicing LLC (the “Creditor”) filed a proof of claim and provided evidence of a lien on the
Debtor(s) 1997 Fleetwood mobile home.

The Trustee has been disbursing ongoing monthly mortgage payments to the Creditor and has paid the
Creditor’s arrearage claim in full. The Trustee’s records reflect that the account is current.

The Trustee respectfully requests as follows:

1. That an order be entered finding that all prepetition and postpetition defaults have been cured and that the
account be deemed current and reinstated on the original payment schedule under the note and security
agreement as if no default had ever occurred.

2. That the Creditor be required to credit payments received beginning July 2013 to monthly payments due
beginning July 2013.



Date: June 26, 2013                                                               s/ Kathryn L. Bringle
KLB/SY/thf                                                                                 Trustee
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                                                           NOTICE

TAKE NOTICE THAT any interested party who has an objection to the Motion MUST FILE A WRITTEN
OBJECTION by July 26, 2013        with the United States Bankruptcy Court at the address of

                                             226 South Liberty Street
                                             Winston-Salem, NC 27101

and must serve the parties named on the attached list of Parties To Be Served.
If no objection is filed within the time period, the Court will consider this motion without a hearing. If an
objection is timely filed, a hearing on the motion will be held on     August 14, 2013        at 9:30 a.m. in
the Courtroom at 226 South Liberty Street, Winston-Salem, North Carolina.


Date: June 26, 2013                                                              OFFICE OF THE CLERK
                                                                                 U.S. Bankruptcy Court
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                               PARTIES TO BE SERVED
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RAIMOND B HALL
TERRY B HALL
160-7 KINDER RD
WINSTON SALEM, NC 27107

JOHN A MEADOWS
SUITE C
2596 REYNOLDA RD
WINSTON-SALEM, NC 27106

GREEN TREE SERVICING LLC                              NOT ON MATRIX
ATTN OFFICER OR MANAGING AGENT
P O BOX 6154
RAPID CITY, SD 57709

KATHRYN L. BRINGLE
CHAPTER 13 TRUSTEE
PO BOX 2115
WINSTON-SALEM, NC 27102-2115
